  AO 435          Case 2:11-cv-00084 Document 1196 Filed on 03/10/22 in TXSD Page 1 of 1
(Rev. 04/18)
                                                   ADMINISTRATIVE OFFICE OF THE UNITED STATES COURTS                    FOR COURT USE ONLY

                                                                                                                        DUE DATE:
                                                                  TRANSCRIPT ORDER
Please Read Instructions:
1. NAME                                                                               2. PHONE NUMBER                   3. DATE
    Paul Yetter                                                                        713-806-3612                           3/10/2022
4. '(/,9(5< ADDRESS25(0$,/                                                          5. CITY                           6. STATE           7. ZIP CODE
      lprince@yettercoleman.com
8. CASE NUMBER                                 9. JUDGE                                                       DATES OF PROCEEDINGS
   2:11-cv-00084                                Hon. Janice Graham Jack               10. FROM 3/10/2022                 11. TO
12. CASE NAME                                                                                             LOCATION OF PROCEEDINGS
     M.D., et al. v. Abbott, et al.                                                   13. CITY Corpus Christi            14. STATE           TX
15. ORDER FOR
u APPEAL                                       u      CRIMINAL                        u   CRIMINAL JUSTICE ACT              u   BANKRUPTCY
u   NON-APPEAL                                 X
                                               u      CIVIL                           u   IN FORMA PAUPERIS                 u   OTHER (Specify)

16. TRANSCRIPT REQUESTED (Specify portion(s) and date(s) of proceeding(s) for which transcript is requested)

                  PORTIONS                                        DATE(S)                         PORTION(S)                           DATE(S)
u   VOIR DIRE                                                                         u   TESTIMONY (Specify Witness)

u   OPENING STATEMENT (Plaintiff)

u   OPENING STATEMENT (Defendant)

u   CLOSING ARGUMENT (Plaintiff)                                                      u   PRE-TRIAL PROCEEDING (Spcy)

u   CLOSING ARGUMENT (Defendant)

u   OPINION OF COURT

u   JURY INSTRUCTIONS                                                                 X OTHER (Specify)
                                                                                      u
u   SENTENCING                                                                        Zoom Hearing                      3/10/2022
u   BAIL HEARING
                                                                                 17. ORDER
                            ORIGINAL                                  ADDITIONAL
 CATEGORY             (Includes Certified Copy to      FIRST COPY                            NO. OF PAGES ESTIMATE                      COSTS
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           By signing below, I certify that I will pay all charges                              ESTIMATE TOTAL
                        (deposit plus additional).                                                                      $                0.00     0.00
18. SIGNATURE                                                                         PROCESSED BY
  /s/ R. Paul Yetter
19. DATE                                                                              PHONE NUMBER
       3/10/2022
                                                                                      COURT ADDRESS




                                                          DATE              BY
ORDER RECEIVED

DEPOSIT PAID                                                                          DEPOSIT PAID

TRANSCRIPT ORDERED                                                                    TOTAL CHARGES                     $                0.00     0.00

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